
173 U.S. 624 (____)
HENDERSON BRIDGE COMPANY
v.
HENDERSON CITY.
No. 31. Argued and decided with No. 32.
Supreme Court of United States.

Error to the Court of Appeals of the State of Kentucky.
MR. JUSTICE HARLAN:
This was an action by the city of Henderson to recover taxes (with interest and penalties) assessed by it upon the property of the Henderson Bridge Company within the limits of that city for the years 1890, 1891, 1892 and 1893. The case presents substantially the same questions that are disposed of in the opinion just delivered in case No. 32 between the same parties for taxes for the years 1888 and 1889. For the reasons stated in that opinion the judgment of the Court of Appeals of Kentucky in the present case must be
Affirmed.
